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10                                                  COOLIT SYSTEMS, INC., and Defendants
                                                    COOLIT SYSTEMS USA INC., COOLIT
11                                                  SYSTEMS ASIA PACIFIC LIMITED, COOLIT
                                                    SYSTEMS (SHENZHEN) CO., LTD., CORSAIR
12                                                  GAMING, INC. and CORSAIR MEMORY, INC.

13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                SAN FRANCISCO DIVISION

15   ASETEK DANMARK A/S,                               CASE NO. 3:19-cv-00410-EMC

16                       Plaintiff and                 FURTHER JOINT CASE
                         Counterdefendant,             MANAGEMENT STATEMENT
17
     ASETEK USA, INC.,
18                                                     Date:          February 10, 2022
                         Counterdefendant,             Time:          1:00 PM
19                                                     Location:      Courtroom 5, 17th Floor
                  v.                                   Judge:         Hon. Edward M. Chen
20
     COOLIT SYSTEMS, INC.,
21
                         Defendant and
22                       Counterclaimant,

23   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED, COOLIT
24   SYSTEMS (SHENZHEN) CO., LTD.,

25                       Defendants,

26   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
27
                         Defendants.
28

                                                                    FURTHER JOINT CASE MANAGEMENT STATEMENT
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1              Plaintiff and Counterdefendant Asetek Danmark A/S and Asetek USA, Inc. (“Asetek”) and

2    Defendant and Counterclaimant CoolIT Systems, Inc. and Defendants CoolIT Systems USA Inc.,

3    CoolIT Systems Asia Pacific Limited, CoolIT Systems (Shenzhen) Co., Ltd., Corsair Gaming, Inc.

4    and Corsair Memory, Inc. (collectively, “CoolIT”) jointly submit this FURTHER JOINT CASE

5    MANAGEMENT STATEMENT.

6    1.        Jurisdiction & Service

7              The basis for the Court’s subject matter jurisdiction over Asetek’s claims and CoolIT’s

8    counterclaims are the patent laws of the United States, Title 35 of the United States Code. Specifically,

9    this Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a). All parties have been
10   served.
11   2.        Facts

12             Following final written decisions from the PTAB finding the asserted claims of two Asetek

13   patents unpatentable, at trial Asetek plans to assert four claims from three patents, i.e., claims 17 and

14   19 from U.S. Patent No. 8,240,362 (“the ’362 patent”), which is not subject to IPR, and claim 6 of

15   U.S. Patent No. 10,613,601 (“the ’601 patent”) and claim 2 of U.S. Patent No. 10,599,196 (“’the 196

16   patent”), on which the PTAB recently instituted IPRs. 1 CoolIT has filed a motion to stay the case

17   entirely or, in the alternative, for only claims that have not been invalidated or not subject to instituted

18   IPRs to advance towards trial—i.e., claims 17 and 19 of Asetek’s ’362 patent; and, claims 1, 4, 12, 14,

19   and 15 of CoolIT’s U.S. Patent No. 8,746,330, claims 3, 5, 15, and 20 of CoolIT’s U.S. Patent No.

20   9,603,284, and claims 13 and 15 of CoolIT’s U.S. Patent No. 10,274,266 (the “’266 patent”). CoolIT’s

21   motion is scheduled to be heard on the same day as the upcoming case management conference. The

22   issues and parties’ positions on that motion will not be repeated here for sake of brevity.

23             CoolIT and Corsair deny Asetek’s allegations of infringement. Dkt. Nos. 365, 366. Asetek

24   denies CoolIT’s allegations of infringement. Dkt. No. 273.

25

26
     1
      Asetek’s second amended complaint alleges that CoolIT and Corsair infringe Asetek’s ’362, ’601,
27   and ’196 patents, and U.S. Patent Nos. 10,078,354 (“the ’354 patent”); 10,078,355 (“the ’355
     patent”). Dkt. No. 228. The asserted claims of Asetek’s ’354 and ’355 patents were found
28   unpatentable by the PTAB in IPR decisions that Asetek has appealed to the Court of Appeals for the
     Federal Circuit. Those patents will not be asserted in the trial scheduled for July 2022.
                                                                            FURTHER JOINT CASE MANAGEMENT STATEMENT
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1    3.     Legal Issues

2               a) Whether the asserted Asetek Patents are valid and enforceable;

3               b) Whether CoolIT infringes any valid and enforceable claim of the asserted Asetek

4                   Patents;

5               c) Whether CoolIT’s infringement of any valid and enforceable claim of the asserted

6                   Asetek Patents, if any, was willful;

7               d) Whether the asserted CoolIT Patents are valid and enforceable;

8               e) Whether Asetek infringes any valid and enforceable claim of the asserted CoolIT

9                   patents;
10              f) Whether Asetek’s infringement of any valid and enforceable asserted claim of the
11                  CoolIT Patents, if any, was willful;
12              g) Whether this case is an exceptional case under 35 U.S.C. § 285 entitling any party to
13                  an award of attorneys’ fees;
14   4.     Motions

15          The following motion is pending and scheduled to be heard on the same day as the scheduled

16   case management conference as identified below:

17              Hearing Date               Description                       Submissions
18         1.   02/10/2022 at 1:00 p.m.    Defendants’ Motion to Stay        Dkt. No. 350
19                                         Pending Inter Partes Review       Dkt. No. 356
                                                                             Dkt. No. 364
20

21          The parties also anticipate filing dispositive and Daubert motions, and may file other

22   appropriate motions as this case progresses.

23   5.     Amendment of Pleadings
24          The parties’ stipulated “Deadline to move to add parties or amend the pleadings” was February
25   12, 2021. Dkt. Nos. 222-2 (proposed scheduled), 227 (order adopting schedule).
26

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1    6.     Evidence Preservation

2           The parties certify that they have reviewed the Court’s ESI Guidelines, and confirm that they

3    have discussed and taken reasonable steps to preserve ESI. Each party shall take reasonable affirmative

4    steps to continue to preserve evidence related to the issues presented by the action.

5    7.     Disclosures

6           Asetek and CoolIT exchanged Rule 26(a)(1) initial disclosures on June 6, 2019. CoolIT served

7    supplemental disclosures on July 16, 2021. Corsair served its initial disclosures on July 16, 2021.

8    8.     Discovery

9           Fact discovery closed on August 31, 2021. Dkt. No. 260. Expert discovery closed on January
10   10, 2022 (Dkt. No. 325), although Magistrate Judge Beeler has allowed Defendants two additional
11   hours to further depose Asetek’s technical expert. The parties are discussing a date for that deposition.
12   9.     Class Actions

13          This case is not a class action.

14   10.    IPRs and Related Cases

15          Both parties have filed petitions seeking Inter Partes review of certain of the patents involved

16   in the present litigation, as noted in the parties’ December 15, 2021 Further Joint Case Management

17   Statement, which is incorporated herein by reference. Dkt. No. 201 at 3-4.

18          On August 19, 2021, the PTAB issued a Final Written Decision in CoolIT’s IPR2020-00523

19   finding the asserted claims of Asetek’s ’354 patent unpatentable. On the same day, the PTAB also

20   issued a Final Written Decision in CoolIT’s IPR2020-00522 finding the asserted claims of Asetek’s

21   ’355 patent unpatentable. Asetek believes the PTAB made errors of law and has appealed these

22   decisions.

23          On September 30, 2021, the PTAB issued a Final Written Decision finding the asserted claims

24   of CoolIT’s 9,057,567 patent (“the ’567 patent”) unpatentable in IPR2020-00747. On October 12,

25   2021, the PTAB issued a Final Written Decision finding the some of the asserted claims of CoolIT’s

26   ’266 patent unpatentable and some of the asserted claims patentable in IPR2020-00825. On December

27   2, 2021, CoolIT filed a notice of appeal on the ’567 patent. On December 13, 2021, Asetek filed a

28   notice of appeal concerning the claims of the ’266 patent that the PTAB did not find invalid.

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1           Further, the PTAB issued decisions instituting Inter Partes Review on Asetek’s ’601 and ’196

2    patents on December 28, 2021 in IPR2021-01195 and IPR2021-01196.

3    11.    Relief

4           Each party is seeking damages for alleged infringement of its patents and a trebling of damages

5    for alleged willful infringement; costs and attorney’s fees in defending against this lawsuit; and such

6    other relief as the Court deems just and proper. Each party believes the other is not entitled to any

7    relief. The parties exchanged opening expert reports on infringement, invalidity, and damages on

8    November 3, 2021, and rebuttal expert reports on December 8, 2021. Expert discovery is closed except

9    for the additional two hours of deposition of Asetek’s technical expert discussed above.
10   12.    Settlement and ADR

11          This case has been referred to Magistrate Judge Sallie Kim for settlement purposes. Three

12   settlement conferences have been held, in December 2019, September 2020, and last week on February

13   3, 2022. Magistrate Judge Kim has also scheduled a further session on May 18, 2022.

14   13.    Consent to Magistrate Judge for All Purposes

15          Whether all parties will consent to have a magistrate judge conduct all further proceedings

16   including trial and entry of judgment.    ____ YES       __X__ NO

17   14.    Other References

18          This case is not suitable for reference to binding arbitration, a special master, or the Judicial

19   Panel on Multidistrict Litigation.

20   15.    Narrowing of Issues

21          The parties are not currently aware of issues that can be narrowed by agreement or motion.

22   The parties will continue to evaluate and work together to expedite the presentation of evidence at

23   trial, but they do not have any specific joint proposals at this time.

24   16.    Expedited Trial Procedure

25          The parties do not believe that this is the type of case that can be handled on an expedited basis

26   with streamlined procedures.

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1    17.    Scheduling

2           Pursuant to the Court’s October 11, 2021 Amended Scheduling Order (Dkt. No. 325) and

3    Order Granting the parties’ Stipulated Request to Continue Dispositive Motion Deadlines (Dkt.

4    No. 374), the current case schedule is as follows:

5          Event                                                  Dates
6          Deadline to file dispositive motions                   February 24, 2022
           Hearing on dispositive motions                         March 31, 2022
7
           Meet and confer re pretrial conference statements      May 16, 2022
8          Joint pretrial conference statement/trial briefs       June 7, 2022
9          Objections due                                         June 14, 2022
10         Pretrial conference                                    June 28, 2022
           Trial                                                  July 25, 2022
11
           Estimate of trial length (in days)                     10 court days
12
     18.    Trial
13
            The parties have requested that this case be tried by jury. The parties believe trial will likely
14
     take 10 court days.
15
     19.    Disclosure of Non-Party Interested Entities or Persons
16
            Asetek’s Statement:
17
            Asetek filed its L.R. 3-15 certification of interested parties on January 23, 2019, identifying
18
     Asetek Holdings, Inc.; Asetek A/S; and Arbejdsmarkedets Tillaegspension.
19
            CoolIT’s Statement:
20
            CoolIT filed its L.R. 3-15 certification on February 25, 2019. CoolIT certifies that other than
21
     the named parties, there is no such interest to report.
22
     20.    Professional Conduct
23
            Counsel of record for the parties has reviewed the Guidelines for Professional Conduct for the
24
     Northern District of California.
25
     21.    Other
26
            None.
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1                                       Respectfully submitted,

2    Dated: February 7, 2022            FINNEGAN, HENDERSON, FARABOW,
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13                                            Counterdefendant ASETEK USA, INC.
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                                               7                                 CASE NO. 3:19-CV-00410-EMC
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                                                                FURTHER JOINT CASE MANAGEMENT STATEMENT
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3                                                     PACIFIC LIMITED, COOLIT SYSTEMS
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4

5

6                                             ATTESTATION

7           Counsel for Asetek Danmark A/S hereby attests by his signature below that concurrence in

8    the filing of this document was obtained from counsel for CoolIT Systems, Inc., CoolIT Systems

9    USA Inc., CoolIT Systems Asia Pacific Limited, CoolIT Systems (Shenzhen) Co., Ltd., Corsair
10   Gaming, Inc., and Corsair Memory, Inc.
11

12   Dated: February 7, 2022                    FINNEGAN, HENDERSON, FARABOW,
                                                 GARRETT & DUNNER, LLP
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14                                              By:       /s/ Jeffrey D. Smyth
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                                                      ASETEK DANMARK A/S and
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                                                                         FURTHER JOINT CASE MANAGEMENT STATEMENT
                                                       9                                CASE NO. 3:19-CV-00410-EMC
